       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                        JUDGMENT RENDERED AUGUST 23, 2024



                                     NO. 03-23-00441-CR


                                    Ron Guzman, Appellant

                                                v.

                                  The State of Texas, Appellee




         APPEAL FROM THE 22ND DISTRICT COURT OF HAYS COUNTY
       BEFORE CHIEF JUSTICE BYRNE, JUSTICES SMITH AND THEOFANIS
              AFFIRMED -- OPINION BY CHIEF JUSTICE BYRNE




This is an appeal from the order entered by the trial court. Having reviewed the record and the

parties’ arguments, the Court holds that there was no reversible error in the trial court’s order.

Therefore, the Court affirms the trial court’s order. Because appellant is indigent and unable to

pay costs, no adjudication of costs is made.
